         Case: 1:19-cv-05105 Document #: 1 Filed: 07/29/19 Page 1 of 7 PageID #:1



                            THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


Carmen Vidal-Hallett,
                               Plaintiff,

vs.

The School of the Art Institute of Chicago,

                               Defendant.
                                                             JURY TRIAL DEMANDED




                                            COMPLAINT
          NOW COMES Plaintiff, CARMEN VIDAL-HALLETT, by and through her attorney Lisa

M. Stauff, of the Law Offices of Lisa M. Stauff, and for her complaint against Defendant THE

SCHOOL OF THE ART INSTITUTE OF CHICAGO, states as follows:

                                       NATURE OF THE CASE

1. This two-count action arises from an employment dispute. Plaintiff alleges unlawful

      discrimination on the basis of national origin in violation of the Title VII of the Civil Right Act

      of 1964, as amended, 42 U.S.C.S §2000e-2(a)(1), and, unlawful retaliation for exercising rights

      protected under Title VII of the Civil Rights Act of 1964, 42 U.S.C.S. §2000e-3(a).

                                             THE PARTIES

2. Plaintiff, Carmen Vidal-Hallett, is a resident of Cook County, Illinois, and at all times relevant to

      this Complaint, was an employee of Defendant within the meanings of 42 U.S.C.S. § 2000e(f).

3. Defendant, The School of the Art Institute of Chicago (“SAIC”), is a private university

      associated with the Art Institute of Chicago, and at all times relevant to this Complaint, was an

      employer of Plaintiff within the meanings of 42 U.S.C.S. § 2000e(b).



                                                     1
       Case: 1:19-cv-05105 Document #: 1 Filed: 07/29/19 Page 2 of 7 PageID #:1




                                    PROCEDURAL HISTORY

4. On June 26, 2018, Ms. Vidal Hallett, through counsel, filed a Charge of Discrimination with the

   Equal Employment Opportunity Commission (“EEOC”), alleging unlawful discrimination on

   the basis of disability. Attached as Exhibit A.

5. On April 29, 2019, the EEOC issued a Notice of Right to Sue. Attached as Exhibit B.

                                  JURISDICTION AND VENUE

6. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

7. Venue is proper under 28 U.S.C.S. §1391(b) because the unlawful employment practices alleged

   herein occurred in Cook County, Illinois, which is located within geographical area covered by

   the U.S. District Court of the Northern District of Illinois, Eastern Division.

                   PLAINTIFF’S EMPLOYMENT WITH DEFENDANT

8. Ms. Vidal-Hallett has been an architect for over thirty years and is an International Associate of

   the American Institute of Architects (“AIA”).

9. Defendant hired Ms. Vidal-Hallett on or about March 17, 2015 as a Project Manager for the

   Instructional Resources Facilities Management, Design and Construction Division.

10. Defendant tasked Ms. Vidal-Hallett with managing the design and construction of specific

   renovation projects at Defendant. This included renovations of the Residence Hall, various

   classrooms, and administrative offices throughout campus.

11. At the beginning of Ms. Vidal-Hallett’s employment, she reported to Ron Kirkpatrick, Executive

   Director of Design and Construction.

12. In November 2017, Mr. Kirkpatrick was replaced by Chiaka Patterson.

13. While Mr. Kirkpatrick was Ms. Vidal-Hallett’s supervisor, Ms. Vidal-Hallett was not disciplined

   or counseled for unsatisfactory job performance.


                                                     2
       Case: 1:19-cv-05105 Document #: 1 Filed: 07/29/19 Page 3 of 7 PageID #:1



14. From November 2017 to March 14, 2018, Ms. Patterson expressed no dissatisfaction

 with Ms. Vidal-Hallett’s job performance.

15. On or about March 14, 2018, Ms. Patterson presented Ms. Vidal-Hallett with a written 60-day

   Performance Improvement Plan (“PIP”).

16. The PIP was a complete surprise. Up to this point, Ms. Vidal-Hallett had no indication from Ms.

   Patterson or anyone else that she was performing her job inadequately.

17. Ms. Patterson explained that Ms. Vidal-Hallett would be evaluated every two weeks to see if her

   job performance improved.

18. At these subsequent evaluation meetings, Ms. Vidal-Hallett was told that she was continuing to

   fail, even though at weekly project meetings, Ms. Patterson and others recognized that Ms.

   Vidal-Hallett’s projects were going well because of the work Ms. Vidal-Hallett was doing.

19. On or about April 26, 2018, Ms. Vidal-Hallett was given the opportunity to resign and was

   offered a severance package.

20. While Ms. Vidal-Hallett was trying to decide whether to resign and take the severance package,

   Defendant terminated her employment and forbade her from being on campus.

21. Shortly after the termination, Defendant remotely erased Ms. Vidal-Hallett’s work-issued laptop.

22. In the process of doing so, Defendant also removed personal documents and projects from Ms.

   Vidal-Hallett’s personal external hard drive.

23. As a result of her termination, Ms. Vidal-Hallett suffered a lost of wages and benefits, including

   tuition remission for Ms. Vidal-Hallett’s daughter, who was a full-time college student at

   Defendant.

24. Ms. Vidal-Hallett also lost personal documents and projects, suffered extreme emotional distress

   and embarrassment, and suffered other damages, as a result of her termination.




                                                   3
       Case: 1:19-cv-05105 Document #: 1 Filed: 07/29/19 Page 4 of 7 PageID #:1



      COUNT I: Discrimination, Title VII of the Civil Rights Act of 1964, as amended

25. Ms. Vidal-Hallett is perceived as Hispanic because of her Brazilian and Spanish heritage.

26. Ms. Vidal-Hallett has lived and worked as an architect in the United States for almost 30 years.

   She speaks English fluently, albeit with a slight accent.

27. From the time of hire until her termination, Ms. Vidal-Hallett performed her job duties at or

   above her employer’s reasonable expectations.

28. Between March 14, 2018 and her termination, Ms. Vidal-Hallett’s English proficiency was

   criticized or questioned by her supervisors. This was the first time in her career, which has

   included extensive writing and presenting in English, that this had ever been suggested as an area

   of improvement.

29. Ms. Vidal-Hallett’s accent and her status as a non-native English-speaker, was a motivating

   factor in discriminatory treatment against her by Defendant.

30. Defendant’s employees who speak English as their first language do not suffer adverse

   employment actions when they commit frequent spelling and/or grammar errors.

31. Defendant’s stated reasons for Ms. Vidal-Hallett’s termination are untrue and/or are not

   terminable offenses when committed by someone who is a native speaker of the English

   language. Rather, these stated reasons are pretext for unlawful discrimination.

32. As a result of Defendant’s discrimination, Ms. Vidal-Hallett suffered lost wages and benefits,

   and suffered extreme emotional distress and embarrassment.

Wherefore, Plaintiff prays that this Court grant judgment in her favor, and specifically:

       a. Grant her such relief as is appropriate under the provisions of Title VII of the Civil

           Rights Act of 1964, as amended;

       b. Issue an injunction to permanently restrain and enjoin defendant and its agents,

           employees, and administrators from discriminating against Plaintiff and any other


                                                   4
       Case: 1:19-cv-05105 Document #: 1 Filed: 07/29/19 Page 5 of 7 PageID #:1



            employee who are perceived as Hispanic and/or who are not native speakers of the

            English language;

        c. Make her whole for the damages and financial losses suffered, including punitive and

            compensatory damages;

        d. Award all costs and attorney’s fees incurred in the bringing of this action; and

        e. Award any other relief as is fair and equitable.


   COUNT II: Retaliation for Protected Activity, Title VII of the Civil Rights Act of 1964


33. Plaintiff restates and realleges paragraph 1 through 24, as stated herein.

34. Ms. Vidal-Hallett is perceived as Hispanic because of her Brazilian and Spanish heritage.

35. Ms. Vidal-Hallett has lived and worked as an architect in the United States for almost 30 years.

    She speaks English fluently, albeit with a slight accent.

36. From the time of hire until her termination, Ms. Vidal-Hallett performed her job duties at or

    above her employer’s reasonable expectations.

37. Between March 14, 2018 and her termination, Ms. Vidal-Hallett experienced multiple instances

    where her English proficiency was criticized or questioned by her supervisors.

38. Ms. Vidal-Hallett objected to this insult, and told her supervisors that these comments were

    discriminatory.

39. Ms. Vidal-Hallett sent surveys to her co-workers, in-house clients, and outside vendors to seek

    feedback on her job performance, which included communication skills.

40. When Ms. Vidal-Hallett’s supervisor learned Ms. Vidal-Hallet was asking people to write letters

    and fill out surveys on her behalf, the supervisor forbade Ms. Vidal-Hallett from doing so in the

    future, and told Ms. Vidal-Hallett that she was not allowed to speak to anyone about the

    evaluation process.


                                                    5
       Case: 1:19-cv-05105 Document #: 1 Filed: 07/29/19 Page 6 of 7 PageID #:1



41. The Director of Human Resources referenced Ms. Vidal-Hallett’s discrimination claim when

    offering Ms. Vidal-Hallett a severance package in exchange for Ms. Vidal-Hallett’s resignation,

    during the meeting described in Paragraph 20 above.

42. Others who did not allege discrimination against Defendant, and object to discriminatory

    behavior, were treated more favorably than Ms. Vidal-Hallett.

43. Objecting to discrimination and making complaints about discriminatory conduct is protected

    activity under Title VII of the Civil Rights Act of 1964, as amended.

44. Retaliating against employees for this conduct violates the anti-retaliation provisions of Title VII

    of the Civil Rights Act of 1964, as amended.

45. Ms. Vidal-Hallett engaged in protected activity, and was terminated in part because of that

    protected activity.

46. As a result of Defendant’s retaliatory conduct, Ms. Vidal-Hallett suffered lost wages and

    benefits, suffered extreme emotional distress and embarrassment, and suffered other damages.

Wherefore, Plaintiff prays that this Court grant judgment in her favor, and specifically:

        a. Grant her such relief as is appropriate under the provisions of Title VII of the Civil

            Rights Act of 1964, as amended;

        b. Issue an injunction to permanently restrain and enjoin defendant and its agents,

            employees, and administrators from retaliating against Plaintiff and any other employee

            who engage in protected activity;

        c. Make her whole for the damages and financial losses suffered, including punitive and

            compensatory damages;

        d. Award all costs and attorney’s fees incurred in the bringing of this action; and

        e. Award any other relief as is fair and equitable.




                                                   6
       Case: 1:19-cv-05105 Document #: 1 Filed: 07/29/19 Page 7 of 7 PageID #:1



                                     JURY TRIAL DEMANDED

47. For all counts, Plaintiff requests a trial by a jury of her peers.



                                                                                Respectfully submitted,
                                                                                               Plaintiff,
                                                                                 Carmen Vidal-Hallett,



                                                                By: _____________________________
                                                                                   Plaintiff’s Counsel

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                                                      7
